      Case 1:17-cv-00614-RJJ-PJG ECF No. 5 filed 08/21/17 PageID.25 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


EUGENIA L. MULLER,                           §
                                             §
         Plaintiff,                          §      Case No. 1:17-cv-00614
                                             §
-v-                                          §      Hon. Robert J. Jonker
                                             §
LEIKIN, INGBER & WINTERS, P.C.               §
                                             §
                                             §
         Defendant.                          §


                                  NOTICE OF DISMISSAL


Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff files Notice of
Dismissal, to dismiss this lawsuit, with prejudice.


Dated: August 21, 2017               __/s/_Jeffrey D. Mapes____
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